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IN THE UNITED STATES DISTRICT COURT

FOR THE WESTERN DISTRICT OF TENNESSEESAUGZS PH 2:09
EASTERN DIVISION

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DEM'US RIcH and wife, MELBA W{DOFTN,MEMP|-ES

RICH, individually and as
Executors of the Estate of
GARY BRIAN RICH, deceased,

No. 1:02-1222.T[P
Plaintiffs,

vS¢

CITY OF SAVANNAH, TENNESSEE,
et al.,

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Defendants.

 

ORDER DENYING PLAINTIFFS' MOTIONS TO EXCLUDE THE TESTIMONY OF
GARY SHAFFER

 

Before the court is plaintiffs Demus and Melba Rich's Motion
to Exclude the Testimony of Gary Shaffer, filed on May 13, 2005
(dkt #126). Defendants filed their consolidated response to this
motion on June 2, 2005. This motion was referred to the United
States Magistrate Judge for disposition.l Neither party has

requested a hearing, and the court, having carefully reviewed the

 

lA Magistrate Judge's evidentiary determinations regarding
expert testimony, even where they may ultimately affect the
outcome of a claim or defense, are non-dispositive orders entered
pursuant to 28 U.S.C. § 636(b)(1)(A). §§e Lithuanian Commerce
Corp. Ltd. v. Sara Lee Hosierv, 179 F.R.D. 450, 456 (D.N.J. 1998)
(citing Ferriso v. Conway Organization, 1995 wL 580197, at *1
(S.D.N.Y. Oct. 3, 1995)(unpublished)); Jesselson v. Outlet
Assocs. of Williamsburq. Ltd., 784 F.Supp. 1223, 1227-28 (E.D.
Va. 1991)).

Thls document entered on the docket sheet In compliance
with Rule 53 and/or 79(3) FF\cP on 3' 6“ 5

 

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record, finds that the record before it is adequate and that no
evidentiary hearing is necessary to decide this motion.2

For the reasons below, the motion to exclude Shaffer’s
testimony is DENIED.

I . BACKGROUND

Plaintiffs Demus Rich and Melba Rich (“Plaintiffs”), as
executors of the estate of their son Gary Brian Rich (“Rich”),
filed this action pursuant to 42 U.S.C. § 1983, alleging that the
City of Savannah, Tennessee, the Chief of Police of the Savannah
Police Department (“SPD”), and seven SPD officers violated Rich's
federal and state constitutional rights. Plaintiffs also assert a
state law negligence claim.

This lawsuit arises from an altercation between Rich and SPD
officers on .August 24, 2001. On that date, SPD received an
emergency phone call, in which the caller stated that a woman had
been stabbed. Officers responding to the call found Amy Rich
(“Amy”) at her neighbor's home, where she was being treated by
emergency medical service personnel for stab wounds. Amy informed
the officers that she had been stabbed by her husband, Gary Rich.

She indicated to the officers that she believed her husband was at

 

2The court is not required to conduct a hearing to determine
whether a proposed expert's testimony meets the Daubert
standards. Nelson v. Tennessee Gas Pipeline Co., 243 F.Bd 244,
248-49 (6th Cir. 2001) (finding no abuse of discretion by
Magistrate Judge in not conducting hearing regarding
admissibility of expert opinions).

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their home.

SPD Officers Terry W. Hosea, T.J. Barker, Victor W. Cherry,
and John Sylvester went to the Rich home, and found Rich sitting on
his couch. Rich was holding a knife and did not respond to
commands from the officers. The four officers then sprayed Rich
with mace. The officers moved back outside the home and secured
the perimeter. Along with Officers Tim Kelley, Larry Phelps, Allen
Snelling, and a police canine, the four officers re-entered Rich’s
home and confronted him. Once again, Rich did not comply with the
officers' demands, at which time they proceeded to restrain him.
Plaintiffs allege that the officers first disabled Rich by spraying
him with a fire hose, and then proceeded to beat, hit, kick, and
force Rich into submission. Rich later died, and the plaintiffs
claim that his death was a result of the officers’ excessive force.

Plaintiffs' motion before the court seeks to exclude the
testimony of defendants' expert witness, Gary Shaffer. Plaintiffs
argue that this witness should be excluded from testifying at trial
because he failed to “review and consider numerous important
documents” in formulating his expert opinion, and thus his opinion
does not meet the requirements of reliability set forth in Daubert
v. Merrell Dow Pharmaceuticals, Inc., 509 U.S. 579 (1993), and

Federal Rules of Evidence 702 and 703.3 Specifically, the

 

SAlternatively, the plaintiffs ask that the court exclude
those portions of his opinion that “are not based on a proper
review of the facts.”

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plaintiffs assert that Shaffer - who is of the opinion that the
defendants' conduct leading up to the death of Gary Rich was at all
times proper, reasonable, and in accordance with state and federal
law - failed to review and consider the following documents: (1)
defendant Chief of Police Derr’s deposition; (2) police reports
filed by the other defendant officers shortly after the incident;
(3) the Tennessee Bureau of Investigation’s (“TBI”) final report
concerning the death of Rich and the depositions of TBI officers;
(4) depositions of several witnesses to the incident; (5)
defendant's various discovery responses; (6) exhibits to
depositions; and (7) report and/or records concerning the training
provided to the defendant police officers.
II . ANALYSIS

A. Legal Standard

Federal Rule of Evidence 702 states:

If scientific, technical, or other specialized knowledge

will assist the trier of fact to understand the evidence

or to determine a fact in issue, a witness qualified as

an expert by knowledge, skill, experience, training, or

education, may testify thereto in the form of an opinion

or otherwise, if (1) the testimony is based upon

sufficient facts or data, (2) the testimony is the

product of reliable principles and methods, and (3) the

witness has applied the principles and methods reliably

to the facts of the case.
Fed. R. Evid. 702.

This standard essentially involves three elements. First, the
expert must demonstrate to the trial court that he or she is

qualified - “by knowledge, skill, experience, training or

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education” - to proffer an opinion. Second, by referring to
“scientific, technical, or other specialized knowledge,” Rule 702
requires “evidentiary reliability” in the principles and methods
underlying the expert’s testimony. Third, the expert's testimony
must assist the trier of fact in that the testimony must “fit” the
facts of the case. gee Pride v. BIC Corp., 218 F.Bd 566, 577-78
(eth cir. 2000),- see also Daubert, 509 U.s. at 592-93 (“[T]he trial
judge must determine at the outset . . . whether the expert is
proposing to testify to (1) scientific knowledge that (2) will
assist the trier of fact to understand or determine a fact in
issue. This entails a _preliminary' assessment of whether the
reasoning or methodology underlying the testimony is scientifically
valid and of whether that reasoning or methodology properly can be
applied to the facts in issue.”).

“The trial judge in all cases of proffered expert testimony
must find that it is properly grounded, well-reasoned, and not
speculative before it can be admitted. The expert’s testimony'must
be grounded in an accepted body of learning or experience in the
expert's field, and the expert must explain how the conclusion is
so grounded.” Fed. R. Evid. 702 advisory committee's notes.

As stated by the Third Circuit, proponents “do not have to

demonstrate . . . that the assessments of their experts are
correct, they only have to demonstrate . . . that their opinions
are reliable . . .. The evidentiary requirement of reliability is

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lower than the merits standard of correctness.” In re Paoli R.R.
Yard PCB Litig., 35 F.3d 717, 744 (3d Cir. 1994); see also Ruiz-

Troche v. Pepsi Cola, 161 F.Bd 77, 85 (1st Cir. 1998)(“Daubert
neither requires nor empowers trial courts to determine which of
several competing scientific theories has the best provenance.”).
Several factors that the trial court may consider in analyzing the
reliability of an expert’s methods are: whether a method is
testable, whether it has been subjected to peer review, the rate of
error associated with the methodology, and whether the method is

generally accepted in the scientific community. See Pride, 218

 

F.3d at 577.

In addition, the rejection of expert testimony is the
exception rather than the rule, and “the trial court’s role as
gatekeeper is not intended. to serve as a replacement for the
adversary system.” Fed. R. Evid. 702 advisory committee's notes
(quoting United States v. 14.38 Acres of Land, 80 F.Bd 1074, 1078
(5th Cir. 1996)). “Vigorous cross-examination, presentation of
contrary evidence, and careful instruction on the burden of proof
are the traditional and appropriate means of attacking shaky but
admissible evidence.” Daubert, 509 U.S. at 596.

The proponent of the evidence has the burden of establishing
that the pertinent admissibility requirements are met by a
preponderance of the evidence. _§§ Fed. R. Evid. 104(a); Bourjaily

V. United StateS, 483 U.S. 171, 175-76 (1987).

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B. Gary Shaffer

The defendants have designated Shaffer, a retired. police
officer, as their expert who will testify that the defendants'
conduct leading up to the death of Gary Rich was at all times
proper, reasonable, and in accordance with state and federal law.
According to the plaintiffs, the basis for their motion to exclude
Shaffer's expert testimony is “that his opinions are not ‘based
upon. sufficient facts or data,’ as is required. by' Rule 702."
(Plas.’ Mem. in Support at 17). Plaintiffs argue that Shaffer's
opinion, in order to be considered reliable, must be based on a
review of “all the relevant evidence,” and that his purported
failure to consider all such evidence renders his opinion
unreliable. (Plas.’ Mem. in Support at 18).

Rule 702, however, does not require that an expert consider
all relevant evidence. It only requires the expert's testimony to
be based on sufficient facts and data to make the testimony
reliable. Seel e.g., Damon v. Sun Co., 87 F.3d 1467, 1475 (1st
Cir. 1996)(finding that expert's testimony was based on sufficient
facts even though there was no doubt that “more testing could have
been done”). “When facts are in dispute, experts sometimes reach
different conclusions based on competing versions of the facts.
The emphasis in the amendment on ‘sufficient facts or data' is not
intended to authorize a trial court to exclude an expert's

testimony on the ground that the court believes one version of the

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facts and not the other.” Fed. R. Evid. 702 advisory committee’s
notes; see also Micro Chem., Inc. v. Lextron, Inc., 317 F.3d 1387,
1392 (Fed. Cir. 2003).

Shaffer reviewed the autopsy report and photographs,
deposition of Dr. Cynthia Gardner, a scale drawing of the Rich
house, the report of Plaintiffs' expert Fred Robinette, the SPD
Standard Operating Procedures, and the TBI statements and
depositions of a dozen individuals who were at the Rich house on
the night of the altercation, including four of plaintiffs'
civilian witnesses,4 seven SPD officers,5 and an emergency medical
technician.6

Having reviewed Shaffer’s report and deposition transcript
filed with the court, this court concludes that Shaffer based his
opinions regarding defendants' conduct leading up to the death of
Gary Rich on sufficient facts and data as required under Rule 702.
Because his opinions relate specifically to the officers’ conduct,
the statements and depositions of individuals who were at the Rich
house on the night of the altercation are of particular importance.

Shaffer's interpretation of the factual events is based on

 

4These witnesses are Jeremy Dean Blount, Gay Ray Lascano,
Patrick Allen Moore, and Amber L. Doucette.

5These SPD officers include Captain Hosea, Sergeants Barker
and Cherry, Officers Snelling and Sylvester, and Investigators
Phelps and Kelley.

6The EMT is Larry McCasland.

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sufficient evidence, even if the witnesses' accounts of what
occurred at the Rich house differs.

The fact that Shaffer could have reviewed other materials in
formulating his opinion does not disqualify him as an expert. To
the extent that Shaffer did not review certain documents that
provide information that is inconsistent with his opinionl the
plaintiffs may certainly challenge Shaffer’s opinion by vigorous
cross-examination and the presentation of contrary evidence. gee
Daubert, 509 U.S. at 596; McReynolds v. Sodexho Marriott Servs.l
ingé, 349 F.Supp.zd 30, 42 (D.D.c. 2004)..

In the alternative, the plaintiffs assert that Shaffer is not
qualified to testify about specific training that the defendant
officers did or did not receive, or about the cause of Rich’s
death. With respect to training, it does not appear that Shaffer
will testify about the specific training these defendant officers
actually received. Defendants state in their response to this
motion that Shaffer’s testimony will not involve the training these
officers received, but rather that an officer is adequately trained
under Tennessee standards if the officer receives POST-certified
training. (Defs.’ Mem. in Opposition at 15). Similarly, according
to the defendants, Shaffer will not testify about the cause of
Rich’s death. (Defs.' Mem. in Opposition at 16)(“Shaffer readily
acknowledges he is not qualified to opine about cause of Rich's

death.”) Instead, he will testify about the “likelihood of injury

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to a suspect front various forms of restraint” and whether a
hypothetical, reasonable officer would know that such restraints
are likely to cause death. (Defs.' Mem. in Opposition at 16).
III. CONCLUSION
For the reasons above, the motion to exclude Shaffer's
testimony is DENIED.

IT IS SO ORDERED.
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TU M. PHAM
United States Magistrate Judge

 

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Date v

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UNITED STATES DISTRICT COURT - WESTERN DISTRICT OF TENNESSEE

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Honorable .1 ames Todd
US DISTRICT COURT

